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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                                 Eastern Division

Glen Ellyn Pharmacy, Inc.
                                          Plaintiff,
v.                                                      Case No.: 1:13−cv−00002
                                                        Honorable Charles R. Norgle Sr.
Medical Discount Services, Inc., et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 7, 2013:


       MINUTE entry before Honorable Charles R. Norgle, Sr: Plaintiff's individual
claims against Defendant are dismissed with prejudice, and with each party bearing its
own costs. Plaintiff's class claims are dismissed without prejudice and with each party
bearing its own costs. Civil case terminated. [18]Mailed notice(ewf, )




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